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                                                                FILED & ENTERED
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  3                                                                    JAN 20 2022
  4
                                                                  CLERK U.S. BANKRUPTCY COURT
                                                                  Central District of California
  5                                                               BY wesley DEPUTY CLERK


  6
                             UNITED STATES BANKRUPTCY COURT
  7

  8                            CENTRAL DISTRICT OF CALIFORNIA

  9
                                     LOS ANGELES DIVISION
 10

 11
        In re:                                 Case No. 2:22-bk-10266BB
 12
        ESCADA AMERICA, LLC; fka
 13     ESCADA US SUBCO, LLC;                  Chapter 11

 14
                 Debtor(s)                     ORDER SETTING SCHEDULING AND CASE
 15
                                               MANAGEMENT CONFERENCE IN
 16                                            SUBCHAPTER V CASE
 17                                            Hearing:
                                               Date:      March 2, 2022
 18
                                               Time:    10:00 A.M.
 19
                                               Place:     255 E. Temple Street, Ctrm: 1539, 15th fl
 20                                                       Los Angeles, CA 90012

 21
             PLEASE TAKE NOTICE that, pursuant to 11 U.S.C. § 1188, the Court will conduct
 22
      a status conference in the above case at the place and time set forth above. Pursuant to
 23   11 U.S.C. § 1183(b), the Subchapter V Trustee must appear at the Status Conference.
 24

 25

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             PLEASE TAKE FURTHER NOTICE that, based upon the Court’s records and
  1
      evidence presented at the status conference, the Court may do one or more of the
  2
      following at the status conference (or at any continued hearing) without further notice:
  3
             1.     dismiss the case;
  4
             2.     convert the case to another chapter;
  5
             3.     order that the debtor be removed pursuant to 11 U.S.C. §1185(a) or
  6                 reinstated pursuant to section 1185(b);
  7
             4.     establish deadlines for the filing of claims, requests for payment of
  8                 expenses of administration and/or objections to claims;

  9          5.     set deadlines for filing or soliciting acceptances of a proposed plan and
                    determine whether or not there is cause to require the debtor to submit
 10                 a disclosure statement to accompany that plan;

 11          6.     fix the scope and format of the notice to be provided regarding the hearing
                    on approval of any disclosure statement;
 12
             7.     establish procedures for the conduct of the confirmation hearing or any
 13                 hearing that may be held to approve a disclosure statement;
 14          8.     set a deadline for confirmation of a plan;
 15
             9.     set deadlines for compliance with reporting and other Subchapter V
 16                 requirements;

 17          10.    set deadlines for the assumption or rejection of executory contracts or
                    unexpired leases;
 18
             11.    ascertain whether there is cause to direct the United States Trustee to
 19                 appoint one or more committees; and/or

 20          12.    refer matters to mediation.
 21          PLEASE TAKE FURTHER NOTICE that, whether the debtor files its schedules
                 and statements using the 100 series (for individual debtors) or the 200
 22              series (for non-individual debtors), the forms are mandatory and must be
                 executed under penalty of perjury. Any disclaimers, reservations, caveats,
 23
                 general notes or exceptions that debtors or their counsel may append to
 24              or include in such forms are ineffective to alter the duty of care or the level
                 of detail required in connection with the preparation of these forms and do
 25              not create or preserve any rights that would not otherwise have existed in
                 the absence of such language.
 26
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           IT IS HEREBY ORDERED as follows:
  1
           1.    The debtor in possession (or the chapter 11 trustee, if one has been
  2
                 appointed), shall serve a copy of this order on the United States Trustee,
  3              all secured creditors, the Subchapter V trustee, the 20 largest unsecured
                 creditors, and any parties that have requested special notice in the case
  4              not less than 21 days prior to the date scheduled for the status
                 conference;
  5
           2.    The debtor in possession (or the chapter 11 trustee, if one has been
  6              appointed) shall file with the court and serve on the parties identified in the
                 preceding paragraph not less than 14 days prior to the date scheduled for
  7              the status conference a written status report that includes the following
                 information:
  8
                 a.     a brief description of the debtor’s businesses and operations, if any,
  9                     and the principal assets and liabilities of each estate;
 10
                 b.     brief answers to these questions:
 11
                        1.     What precipitated the bankruptcy filing?
 12
                        2.     What does the debtor hope to accomplish in this chapter 11
 13                            case?

 14                     3.     What are the principal disputes or problems likely to be
                               encountered during the course of the debtor’s reorganization
 15                            efforts?
 16
                        4.     How does the debtor recommend that these disputes be
 17                            resolved and why?
 18
                        5.     Has the debtor complied with all of its duties under FRBP
 19                            Interim Rule 2015(b) and 11 U.S.C. §§ 521, 1184 and 1187
                               and all applicable guidelines of the Office of the United
 20                            States Trustee, and, if not, why not?

 21                     6.     Do any parties claim an interest in cash collateral of the
                               debtor?
 22
                        7.     Is the debtor using cash that any party claims as its cash
 23                            collateral and, if so, on what date(s) did the debtor obtain an
                               order authorizing the use of such cash or the consent of
 24                            such party?
 25

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  1                   c.       the identity of all professionals retained or to be retained by the
                               estate, the dates on which applications for the employment of such
  2
                               professionals were filed or submitted to the United States Trustee,
  3                            the dates on which orders were entered in response to such
                               applications, if any, and a general description of the type of
  4                            services to be rendered by each or the purpose of the employment;

  5                   d.       in operating cases, evidence regarding projected income and
                               expenses for the first six months of the case;
  6
                      e.       proposed deadlines for the filing of claims and objections to claims;
  7
                      f.       a proposed deadline for the filing of a plan of reorganization within
  8                            the time frame set forth in 11 U.S.C. § 1189, or an explanation of
                               why the debtor believes that the deadline set forth in section 1189
  9                            should be extended due to circumstances for which the debtor
                               should not justly be held accountable;
 10

 11                   g.       a discussion of the efforts that the debtor has undertaken and will
                               undertake to attain a consensual plan of reorganization in the case
 12                            or an explanation of why the debtor does not believe that it will be
                               possible for the debtor to negotiate a consensual plan of
 13                            reorganization; and

 14                   h.       a discussion of any significant unexpired leases and executory
                               contracts to which the debtor is a party and the debtor’s intentions
 15                            with regard to these leases and contracts.
 16                                                        ###
 17

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 21
      Date: January 20, 2022
 22

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